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     UNITED STATES DISTRICT COURT                    authority, the Monitor refused to approve
                                                     payments by the Receiver to Rachlin, Cohen &
 SOUTHERN DISTRICT OF GEORGIA                        Holtz, LLP (“Rachlin”), of which the Receiver is
                                                     a partner, for tax services relating to years 2006
          SAVANNAH DIVISION                          and 2007, pointing to the fact that the tax bills
                                                     greatly exceeded the engagement agreement
                                                     approved by the Monitor, and also that Rachlin
                                                     failed to timely file 2006 and 2007 returns,
                                                     resulting in late fees and penalties. Doc. # 1204
UNITED STATES OF AMERICA                             at 14, 15. In response to the Monitor’s refusal
                                                     to approve invoices, the Receiver filed an
v.                      405CR059                     “Emergency Motion for an Order to Pay Rachlin
                                                     LLP for Tax Services.” Doc. # 1205.
MARTIN J. BRADLEY, III, et. al.                      According to the Receiver, Rachlin should be
                                                     paid $127,396.53 (presumably in addition to the
                                                     $63,956.99 already paid) for tax services relating
                                                     to tax years 2006 and 2007. Id. at 4.

                    ORDER                                The Court deferred ruling on the Receiver’s
                                                     emergency motion until it received additional
I. BACKGROUND                                        briefing from the Receiver and Monitor. Doc. #
                                                     1211. Specifically, the Court ordered that (1)
    In this complex criminal RICO prosecution        the Monitor file a response to the Receiver’s
stemming from a prescription drug-based fraud        emergency motion detailing the sequence of
scheme, the Court appointed a receiver and           events leading to his refusal to approve
monitor to facilitate the execution of this          payments to Rachlin and the reasons for doing
Court’s order of forfeiture of tens of millions of   so; and (2) the Receiver show good cause, if any
dollars worth of convicted defendants’ assets to     could be shown, as to the reasons the tax returns
the United States. U.S. v. Bradley, 2008 WL          were not timely filed and why the invoices for
228064 (S .D.Ga. 1/25/08) (unpublished)              tax services exceeded the agreed upon contract
(recounting case’s history before extending the      price. Id. The Receiver and Monitor were
receivership until defendants’ direct appeals are    reminded to comply with L.Cr.R. 12. 1, which in
exhausted); doc. # 1107. According to the            part provides, “Every factual assertion in a ...
Monitor’s February 2, 2009 report, funds             brief shall be supported by a citation to the
available from the Receivership to pay               pertinent page in the existing record or in any
forfeiture, fines and restitution ordered by the     affidavit ... or other evidence filed with the
Court totaled $54,106,056.76 as of December          motion. Where allegations of fact are relied
31, 2008. Doc. # 1206 at 4.                          upon that are not supported by the existing
                                                     record, supporting affidavits shall be submitted.”
     In the Order appointing the Receiver and
Monitor, the Court ordered the Monitor “to               In response to the Court’s order, the
review and approve all actions of the Receiver       Monitor filed a detailed explanation outlining for
... should the action result or conceivably result   the Court the sequence of events that led to its
in an expenditure or obligation of $10,000 or        refusal to approve payments to Rachlin for the
more.” Doc. # 599 at 2. In the exercise of its       alleged tax services. Doc. # 1215. The
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Monitor’s response was supported by affidavits          later. Doc. # 1213 at ¶ 11. On April 2, 2008,
and other documentation. In an apparent                 the Receiver provided the Monitor with a
concession that no cause could be shown for             Rachlin invoice totaling $98,992.30 for tax
the pursuit of her emergency motion, the                services from August 2007 through March 2008.
Receiver’s filing was both untimely and                 Accompanying the invoice was a memorandum
unresponsive.                                           from a Rachlin tax partner which purported to
                                                        “explain the reasons for a budget overrun.”
II. ANALYSIS                                            Doc. # 1213, exh. 12. In what appears to evince
                                                        a failure to exercise ordinary diligence, the
    The Monitor’s and Receiver’s responses to           Receiver attached a hand-written note on the
the emergency motion reveal the following:              Rachlin memorandum, which stated, “Approved
                                                        for payment, including overrun.” Id.
    A. The Rachlin Engagement
                                                             From April through mid-September 2008,
    In May 2007 the Receiver requested                  the Monitor sought answers to simple questions:
approval from the Monitor to engage Rachlin in          why was Rachlin seeking payment for previously
preparing 2006 and 2007 federal and state tax           paid invoices; why was approval not sought
returns for Bio-Med Plus and affiliated entities.       before exceeding the approved engagement; and
Doc. # 1213, ¶ 6; doc. # 1214, ¶ 1. In a May 7,         what caused Rachlin to exceed the agreed-upon
2007 proposed engagement letter, Rachlin                engagement? Doc. # 1213 at ¶¶ 13, 15, 17 &
projected that its fees related to these tax            19, and exhs. 13, 15, 17 & 19. Through e-mails,
preparations would be $84,000, and proposed             memoranda, revised, re-revised and thrice-
a cap of $100,000. Doc. # 1213, exh. 4. On              revised invoices, the Receiver and Rachlin
May 25, 2007, the Monitor questioned the                offered a stream of unresponsive and
necessity of certain aspects of Rachlin’s               obfuscatory answers to the Monitor’s inquiries
proposed tax services and approved the                  reminiscent of the “Who’s on First?” Abbott and
engagement of Rachlin at a reduced amount of            Costello comedy routine. First, the Receiver
$76,500. Doc. # 1214, exh. 2.                           initially claimed “we have been paid nothing” 1 in
                                                        regards to Rachlin tax services provided from
    In July, August, and September 2007, the            February through August 2007, but later
Receiver submitted to the Monitor invoices              conceded that the invoices had been paid. Doc.
relating to 2006 and 2007 tax services provided         # 1213, exhs. 13 & 18. Second, the Receiver
by Rachlin from February 7, 2007 through                submitted several invoices and memoranda
August 20, 2007. Doc. # 1213, exhs. 7, 8 & 10.          presenting inconsistent amounts due for the
In response, the Monitor approved the                   same alleged services, claiming first that Rachlin
payments to Rachlin, which totaled $63,956.99.          was still owed $98,992.30; then $105,766.90;
As a result, only $12,543.01 of the approved            then claiming $98,995.80; then $171,379.69.
$76,500 budget remained. Doc. # 1213, exhs.             Doc. # 1213, exhs. 12, 14, 16 & 18. Finally, the
7 & 11.

    Despite several inquiries from the Monitor,         1
                                                          The Receiver’s “we” is telling – it reveals that the
the Receiver did not present another Rachlin            Receiver and Rachlin share interests. This conflict of
tax service invoice for approval until six months       interest is greatly troubling, and may perhaps explain the
                                                        apparent failures of diligence by the Receiver.

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Receiver had hastily sought Monitor approval                        The Monitor approved payment of taxes,
of Rachlin invoices although they were well in                  penalties and interest, though only upon the
excess of the agreed upon cap, only to admit                    condition that the Receiver immediately
months later that “Rachlin’s Tax Department                     undertake efforts to recoup the losses caused by
had not notified [her] of the significant overage               Rachlin’s alleged malpractice. Doc. # 1214 at ¶
in services as required.” Doc. # 1213, exhs. 12,                7; id., exh. 6. To date, the Receiver has refused.
14 & 18.
                                                                    C. The Monitor’s Refusal to
    B. Payments for Tax Year 2007                                      Approve Invoices

     On September 14, 2008, the Receiver                            The Monitor refused numerous requests by
provided a “Summary of 2007 Income Tax                          the Receiver for approval of additional Rachlin
Payments” totaling over $3.2 million. Doc. #                    invoices for 2006 and 2007 tax year invoices.
1213, exh. 22. These payments were                              The Monitor refused for two reasons: (1)
apparently required to be made in conjunction                   Rachlin’s invoices were in excess of the
with the filing of tax returns for Bio-Med and                  approved $76,500 engagement; and (2)
affiliated entities. Id. In response, the Monitor               Rachlin’s actions apparently caused the
requested copies of the returns. Doc. # 1213 at                 Receivership to be burdened with an
¶ 21. Upon review of the returns, the Monitor                   unnecessary $231,226 expense. The Monitor’s
determined that the “tax payments” summarized                   refusal to approve Rachlin tax service invoices
by the Receiver actually included fees totaling                 appears to have been reasonable, necessary and
$231,226 for interest and penalties arising from                consistent with this Court’s directive that it
the Receivership’s failure to pay taxes due on                  “oversee the activities and conduct of the
or before March 15, 2008. Doc. # 1213 at ¶                      Receiver ... [and] ensure that the government’s
22.                                                             interest in the [Receivership] not [be] diminished
                                                                or dissipated....” Doc. # 599 at 2.
    According to the Monitor, when the
Receiver was confronted about the penalties                         D.     The Receiver’s Conflict of Interest
she “acknowledged that mistakes may have
been made by Rachlin personnel regarding                            The potential for a conflict arose when the
interest and penalties associated with the filing               Receiver retained its own accounting firm to
of the returns, however it was her opinion [that                provide tax services for the benefit of the
the mistake] was an internal Rachlin issue....”                 Receivership. Based upon the Receiver’s recent
Doc. # 1213 at ¶ 24. The Receiver then                          actions, it appears that an actual conflict has
suggested that taxes may not have actually been                 developed.
due from the Receivership entities and stated
her intention to request a formal ruling from the
IRS on the issue.2 Id.                                          entities under her control....” Doc. # 1213, exh. 12.
                                                                Recently, however, the Receiver has expressed doubt
                                                                about Rachlin’s conclusion that taxes needed to be filed.
                                                                Doc. # 1213 at ¶ 24. Such a theory necessarily calls into
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  In its April 2, 2008 memorandum, Rachlin claimed              question the overall reasonableness of Rachlin’s tax
(as a reason for the budget overrun) that a “considerable       advice and services. It is therefore troubling that the
amount of time was required to be spent to determine ...        Receiver nonetheless contends in her emergency motion
what obligation the Receiver has to file returns for            that Rachlin’s services were reasonable. Doc. # 1205.

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                                                             Receiver declined the Monitor’s
    On April 2, 2008, the date Rachlin                       recommendation.
presented tax service invoices far in excess of
the approved budget, the Receiver could have                     Despite the fact that the invoices were more
acted in the best interest of the Receivership by            than $100,000 over budget, and more than
recognizing that a conflict existed and recusing             $200,000 in interest and penalty fees had been
herself from further involvement. Instead, the               incurred, the Receiver unabashedly continued to
Receiver -- in the interest of Rachlin and not of            press the Monitor for approval of payment to
her fiduciary charges -- gave blanket approval               Rachlin. On February 4, 2009, the Receiver
to each misstated and miscalculated invoice.                 filed her emergency motion for an order to pay
Then, when questioned by the Monitor about                   Rachlin. In the motion, the Receiver attempts to
whether certain invoices had been paid, she                  offer her own expert opinion on behalf of
proclaimed, “ [W]e have been paid nothing.”                  Rachlin: that the services provided were
Doc. # 1213, exhs. 13 & 18 (emphasis added).                 reasonable. Doc. # 1205 at 4-5.

    The Court notes that from April through                      Given an opportunity by this Court to
August 2008, while the Receiver was                          support her contentions of reasonableness with
expending Receivership time and resources on                 actual evidence, the Receiver balked. Instead,
repeated attempts to obtain payment for                      the Receiver explicitly confirmed her conflict of
Rachlin’s services, Rachlin inexplicably                     interest by ignoring this Court’s directive and
provided virtually no tax services to the                    representing that she “has been authorized by
Receivership. Rachlin neglected to provide                   Rachlin LLP to propose” a course of action that
estimated tax payments to the Receivership in                had been proposed by the Monitor five months
March 2008, provided no services in April,                   earlier. Doc. # 1217 at 2 (proposing that
May, June and July, and provided less than                   Rachlin and the Monitor “agree on a comparable
$500 worth of services in August. Doc. #                     South Florida accounting firm to serve as an
1214, exh. 10. This inactivity suggests that                 independent reviewer of Rachlin LLP’s work
Rachlin negligently allowed late penalties and               and render an opinion to the Court regarding the
interest to accrue, while it waited for the                  reasonableness of the fees”). The opportunity
Receiver’s collection of its fees in excess of the           for such review, however, has come and gone.
cap. 3                                                       Through her emergency motion, the Receiver
                                                             has de facto selected this Court as the
    In September 2008, the Monitor advised the               independent arbiter.
Receiver’s counsel that the Receiver’s efforts to
obtain payments on behalf of Rachlin presented                  E. Show Cause
a conflict of interest. Doc. 1214 at ¶ 11. The
Monitor recommended that an outside arbiter                      Based upon the Receiver’s emergency
be engaged to negotiate a resolution with                    motion, the Monitor’s response, and the
Rachlin. Doc. # 1214 at ¶ 11; id., exh. 9. The               Receiver’s reply, the Court makes several
                                                             findings. First, the Receiver’s emergency motion
                                                             is without merit. Second, since April 2, 2008,
3 Astoundingly, the Receiver claims in her emergency
                                                             the Receiver has operated under a conflict of
motion that the Rachlin fees were reasonable, in part,       interest and, with regard to the Rachlin tax
because of the “results obtained.” Doc. # 1205 at 4.

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service invoices, has not acted in the best
interest of the Receivership. Third, the
Receiver’s conflict has burdened the
receivership not only by enabling an excessive
budget overrun and the incurrence of
unnecessary expenses, but also by causing
additional Receiver’s fees, Monitor’s fees, and
attorneys’ fees (which the Receivership has
been forced to fund) due to the Receiver’s blind
pursuit of an interest in conflict with the
interests of the Receivership.

   As it appears that the Receiver has a
conflict of interest, she is directed to show
cause why she should not be removed as
Receiver, and why the Court should not seek to
recover any wasted assets. During the show
cause hearing, the Court also will expect to
hear from the Monitor and the Government.


III. CONCLUSION

    The Receiver’s emergency motion for an
order to pay Rachlin LLP is DENIED. The
show cause hearing is scheduled for 10:00 a.m.
on Tuesday, April 21, 2009. Any written
responses or documents shall be filed no later
than 1:00 p.m. on Thursday, April 16, 2009.



This 7 day of April, 2009.



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B. AVANT EDENFIELD, JUDGE
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA




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